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                                                             PagePage
                                                                  1 of 41PageID:
                                                                         of 4    32
Case 2:23-cv-16873-MCA-MAH
      Case 3:24-mc-80266-JCS Document
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                                                  09/06/23
                                                      10/24/24
                                                             PagePage
                                                                  2 of 42PageID:
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Case 2:23-cv-16873-MCA-MAH
      Case 3:24-mc-80266-JCS Document
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                                                  09/06/23
                                                      10/24/24
                                                             PagePage
                                                                  3 of 43PageID:
                                                                         of 4    34
Case 2:23-cv-16873-MCA-MAH
      Case 3:24-mc-80266-JCS Document
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                                                  09/06/23
                                                      10/24/24
                                                             PagePage
                                                                  4 of 44PageID:
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